Case 3:04-cr-00130-FDW-DSC   Document 75   Filed 12/15/05   Page 1 of 6
Case 3:04-cr-00130-FDW-DSC   Document 75   Filed 12/15/05   Page 2 of 6
Case 3:04-cr-00130-FDW-DSC   Document 75   Filed 12/15/05   Page 3 of 6
Case 3:04-cr-00130-FDW-DSC   Document 75   Filed 12/15/05   Page 4 of 6
Case 3:04-cr-00130-FDW-DSC   Document 75   Filed 12/15/05   Page 5 of 6
Case 3:04-cr-00130-FDW-DSC   Document 75   Filed 12/15/05   Page 6 of 6
